Case 2:05-Cr-20190-BBD Document 29 Filed 07/13/05 Page 1 of 2 Page|D 20

 

 

 

lN THE UNITED sTATEs DISTRICT COURT F‘LE@ ,@gjz,_ D_C_
FOR THE WESTERN DISTRICT OF TENNESSEE 05 J
WESTERN DIVISION U'- l 3 PH 12: 51
CLEHi; U§ " s§'
UNITED S'I`ATES OF AMERICA W£§ C§ § ..e CO
V.
COREY C. HAYES 05cr20190-2-D
ORDER ON ARRAIGNMENT
f
This cause came to be heard on / z dp~> the United States Attorney
for this district appeared on behalf of the g ernm t, and the defendant appeared in person and With
counsel:

Who is Retained/Appointed.

______-d

NAME gym/ma mgic/1 515

The defendant, through counsel, waived ormal arraignment and entered a plea of not guilty.

   

All motions shall be filed Within thirty (3 0) days nom the date hereof unles's, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.
2 The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held Without bond pursuant to BRA of 1984 , is remanded to the custody
of the U.S. Marsha .
/0 vt m 15 %H/W/'

UNITED sTATEs MAGISTRATE ]UD`GE

CHARGES - 18 USC 1708.F
THEFT OR RECEIPT OF STOLEN MAIL MA'ITER

Attorney assigned to Case: C. McMullen

   
    

Age: ego Thls document entered on the docket sh 1
wlth Rule 55 and/or 32(b) FRCrP on “

  

   

  

UNITED S`ATE DSTIIC COURT - WETERN DISTRCT OFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20190 Was distributed by faX, mail, or direct printing on
July l4, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

l\/lemphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Honorable Bernice Donald
US DISTRICT COURT

